          Case 1:18-gj-00034-BAH Document 22 Filed 07/31/18 Page 1 of 1



                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 In re GRAND JURY INVESTIGATION
                   .                                      Grand Jury Action No. 18-34 (BAH)

                                                          Chief Judge Beryl A. Howell

                                                          FILED UNDER SEAL



                                             ORDER

       Upon consideration of the witness, Andrew Miller’s, Second Motion to Quash Subpoena,

ECF No. 10, the related legal memoranda in support and opposition to this motion, the exhibits

attached thereto, the arguments presented at the hearing held on July 18, 2018, and the entire

record herein, for the reasons set out in the accompanying Memorandum Opinion, it is hereby

       ORDERED that the witness’s Second Motion to Quash is DENIED; and it is further

       ORDERED that Andrew Miller is directed, pursuant to the grand jury subpoenas served

by the Special Counsel, to appear before the grand jury to provide testimony at the earliest date

available to the grand jury, and to complete production of the subpoenaed records promptly.

       SO ORDERED.

       Date: July 31, 2018

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                                                     BERYL A. HOWELL
                                                     Chief Judge




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